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                       THE UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF NORTH CAROLINA
                             WINSTON-SALEM DIVISION

In re:                                               )      Chapter 11
                                                     )
Product Quest Manufacturing, LLC, et al.,1           )      Case No. 18-50946
                                                     )      (Joint Administration Pending)
                                                     )
                Debtors.                             )
                                                     )

                DECLARATION OF MICHAEL J. MUSSO IN SUPPORT OF
                     FIRST DAY MOTIONS AND APPLICATIONS

         MICHAEL J. MUSSO, being duly sworn, deposes and says:

         1.     I am the interim Chief Executive Officer of Product Quest Manufacturing, LLC,

the parent corporation of Scherer Labs International, LLC, Product Quest Logistics, LLC,

JBTRS, L.L.C., PQ Real Estate LLC, and Ei LLC (collectively, the “Company” or the

“Debtors”). In this capacity, I am familiar with the operations, business, and financial affairs of

the Company.

         2.     I am authorized to submit this declaration in support of the Debtors’ First Day

Motions (as hereinafter defined).     Except as otherwise indicated, all facts set forth in this

declaration are based upon my personal knowledge, my review of relevant documents, or my

opinion based upon my experience, knowledge, and information concerning the Debtors’

operations and financial affairs. If I were called upon to testify, I would testify competently to

the facts set forth herein.




1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: (i) Ei LLC (6099); (ii) Product Quest Manufacturing, LLC (4401);
    (iii) Scherer Labs International, LLC (5258); (iv) Product Quest Logistics, LLC (6199); (v)
    JBTRS, L.L.C. (1249); and (vi) PQ Real Estate LLC (4569). The Debtors’ service address is:
    2865 N. Cannon Blvd., Kannapolis, North Carolina 28083.
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                                       BACKGROUND

       3.      On the date hereof (the “Petition Date”), each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy

Code”).     The Debtors are authorized to operate their businesses as debtors-in-possession

pursuant to sections 1107 and 1108 of the Bankruptcy Code.

       4.      Prior to the Petition Date, the Debtors were engaged in the manufacturing of

topical over-the-counter (“OTC”) drugs, cosmetic products, as well as a limited number of

prescription drugs and topical animal health products. As described in detail below, the Debtors

have now ceased all going-concern manufacturing operations. The Company’s executive offices

are located at 2865 N. Cannon Blvd., Kannapolis, North Carolina.

A.     Company History and Pre-Petition Operations

       5.      In 1995, John Regan, the former head of operations for Hawaiian Tropic, founded

Product Quest Manufacturing, LLC (“PQM”).           Regan, PQM’s first chief executive officer,

originally conceived of PQM as a contract manufacturer of sunscreens and other sun care

products with a single production line. However, since its inception in 1995, the Company has

expanded its product portfolio and production lines to encompass a variety of OTC drugs,

prescription drugs, topical animal health products and cosmetics.       The Company has also

significantly expanded its private label production and contract manufacturing business.

       6.      Currently, the Company has over 3,000 product formulas in its library. Prior to

the Facility Closures (as defined below), the Company’s 39 production lines had the capacity to

produce approximately $125 million worth of units per year.       Its OTC drugs accounted for a

little over fifty percent of the Company’s revenue, with its cosmetics and animal health product

categories each representing the bulk of the remaining revenue.



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       7.      The Company traditionally focused its efforts on: (a) the production and sale of

private label OTC drugs (e.g., sunscreen) and cosmetic products; and (b) contract manufacturing

for third party suppliers of OTC drugs, cosmetics, prescription drugs and animal health products.

The Company serviced over 140 customers and its products were sold primarily to regional and

national grocery, drug store, and retail operators. The Company was a sole source supplier for

certain of its customers—including the ninth largest animal health company globally. The

Company’s pharmacy retail customers included the largest pharmacy healthcare provider in the

United States and the largest drug store chain in the United States. Drug store retailers have

historically accounted for approximately 50% of the Company’s annual retail sales, with mass

retailers, like Walmart and Target, making up approximately 14% of the annual retail sales and

dollar retailers, like Dollar General, making up approximately 16% of the annual retail sales.

       Daytona Facility

       8.      Prior to 2013, the Company only had operations in Holly Hill, Florida, a suburb

of Daytona Beach, Florida. The Company’s Holly Hill facility (the “Daytona Facility”) was

built in the 1950s and was acquired by PQM in 2001.             The Company’s Daytona Beach

operations take place on five separate (but adjacent) properties: (i) the Daytona Facility, a

manufacturing facility with 67,922 square feet of operational area (located at 330 Carswell

Avenue, Holly Hill, FL 32117), (ii) a warehouse/distribution building with 44,846 of operational

area (located at 540 Carswell Avenue, Holly Hill, FL 32117) and an 850 square foot office, (iii)

two office/office-warehouse buildings with 9,120 square feet of operational area (located at 343

Carswell Avenue, Holly Hill, FL 32117), (iv) a surface parking lot (located at 344 Carswell

Avenue, Holly Hill, FL 32117), and (v) another surface parking lot (located at 331 Carswell

Avenue, Holly Hill, FL 32117).



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         9.      Prior to the Petition Date, the operations at the Daytona Facility focused on

accommodating the Company’s customers’ needs by providing batch manufacturing and filling,

packaging and distribution of products. The product lines at the Daytona Facility primarily

consisted of sun care products and OTC sinus medications.             The Daytona Facility’s key

customers included L’Oréal, SunBum, CVS, Walgreen’s, Rite Aid, Top Co. and Valeant. The

Daytona Facility also housed a research and development function focused on product

formulation development and innovation.

         10.     The Daytona Facility has been renovated several times since its acquisition but its

advanced age has created significant ongoing challenges for the Company as described in further

detail below.

         Kannapolis Facility

         11.     In April 2013, PQM purchased Ei LLC (“EI”), which owned and operated a

newer manufacturing facility in Kannapolis, North Carolina (the “Kannapolis Facility”).

         12.     Prior to the Petition Date, the operation at the Kannapolis Facility focused on

three components: (i) batch manufacturing, (ii) filling and packaging and (iii) quality testing.

The product lines at the Kannapolis Facility included topical OTC drugs, cosmetics, prescription

drugs and animal health products.        With respect to its batching operations,2 the Company

provided cGMP3 manufacturing from 10L to 9,500L batch sizes with the flexibility to process

aqueous, anhydrous and emulsion-based formulations across a wide viscosity range and under an

2
    Batch production is a manufacturing technique that is common in pharmaceutical and skin care
    manufacturing, whereby the product is created through a step-by-step (as opposed to
    continuous) process. Batch production affords the flexibility to produce a variety of different
    products (or product variations) on the same production system. It also allows a single
    production system to be used for making different seasonal items.
3
    “cGMP” stands for current good manufacturing practices and these are the manufacturing
    regulations and practices mandated by the FDA to ensure proper design, monitoring, and
    control of manufacturing processes and facilities.

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assortment of conditions including: multiple mixing options, vacuum/pressure, high temperature,

inert gas blanketing, and light-sensitivity.

       13.     The Company’s filling and packaging operations catered to a range of production

sizes ranging from small runs for new OTC and prescription drug products to mega-runs for

established OTC drug or cosmetic brands.         The filling operations could accommodate fill

capacities from 0.25 milliliter to one liter and the filling options offered at the Kannapolis

Facility included: laminate tubes with shaped seal capabilities, metal tubes, with a variety of

folding options, bottles / toddles, jars, dual chamber dispensing, sachets, pouches, packettes, unit

doses, airless, cartooning, leaflets / inserts, tamper evidence and kit assembly. Lastly, the

Kannapolis Facility’s quality testing operations offered the Company’s customers a turnkey

experience by completing most of a customer’s required testing onsite, thus allowing the

Company to manage timing and costs related to product production.

       Acquisition by Kainos Capital

       14.     In August 2015, the Company was acquired by Kainos Capital LLC pursuant to

that certain Contribution and Unit Purchase Agreement (the “Acquisition Agreement”), by and

among KPQ Holdings LP (“Holdings”), PQ Acquisition Corporation, an indirect wholly-owned

subsidiary of Holdings (“PQA Corp”), PQM, the members of PQM (the “Members”) and the

Member’s representative, Stephens Capital Partners LLC.             Pursuant to the Acquisition

Agreement, Holdings and PQA Corp (affiliates of Kainos Capital LLC) acquired and purchased

from the Members all of the equity interests of PQM (the “2015 Transaction”). In December

2016, William Smith (“Mr. Smith”) was hired as Chief Executive Officer of the Company by

Kainos Capital LLC.




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B.     Events Leading to Filing

       15.    These chapter 11 cases have been caused by ineffective senior leadership,

employee turnover, extensive product quality issues and the subsequent recall of many products

manufactured in the Daytona Facility due to stability and contamination issues and regulatory

compliance issues affecting the Daytona Facility and the Kannapolis Facility.

       16.    In the fall of 2017, the Company suffered from severe financial and operational

difficulties, including, for example, key vendors placing the Company on credit hold. These

issues were caused by poorly executed growth plans, which led to extensive inventory issues and

significant subsequent write-offs. Additionally, the Company suffered from operational cost

overruns, ineffective production standards and poor pricing practices leading to significant

margin erosion. On September 13, 2017, the Agent (as defined below) for the senior lenders

exercised its right (arising as a result of the occurrence of certain events of default under the

Company’s senior secured credit facility) to immediately remove all of the managers on PQM’s

Board of Managers (the “Board”) and replaced them with independent individuals designated by

the Agent. Prior to the Agent’s exercise of its right to replace the members of the Board, the

Company had been in default under its senior secured credit facility for at least twelve months.

The current members of the Board are Lawrence Hirsch, L. W. Varner, Jr., and Joseph Thornton.

       17.    Promptly after the appointment of the new members of the Board, the Board

immediately took action to stabilize the Company by appointing a chief restructuring officer (Joe

Geraghty of Conway MacKenzie, a nationally recognized restructuring consulting firm) and

arranging for rescue financing from the lenders. Mr. Geraghty along with other advisors from

Conway Mackenzie were tasked with developing a financial turnaround plan for the Company.

       18.    In October 2017, the Company received a Form 483 notice from the United States

Food and Drug Administration (the “FDA”) regarding potential FDA violations at the

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Kannapolis Facility. These violations were centered on potential cross contamination of human

health and animal health products, cleaning validation practices and failure to effectively

document investigations. In response, the Company, at the direction of the Board, retained a

new law firm (King & Spalding LLP (“K&S”)) to represent it in connection with FDA matters.

The Company also provided for substantial additional investment in compliance, including the

retention of third-party FDA compliance consultants. During that time, the Company also

continued to focus on improving its operations and financial condition. The Company also

replaced its chief financial officer and engaged Conway MacKenzie to provide an interim chief

financial officer.

        19.     In April 2018, the Company received a warning letter from the FDA stating that

the Company’s Kannapolis Facility was in violation of certain cGMP requirements for

pharmaceutical products, and that as a result, the agency had concerns regarding potential cross

contamination. The Company’s chief executive officer at the time, Mr. Smith, conveyed to the

Board that it would take approximately two to three months to remedy the issues cited in the

FDA’s letter and the remediation for the Kannapolis facility would cost around $3–$4 million.

Mr. Smith had not disclosed the extensive nature of the quality issues and facility condition in

Daytona. On May 21, 2018, the Company submitted its initial response to the FDA’s warning

letter, outlining the substantial and ongoing remediation efforts at the Kannapolis Facility.

Subsequent updates were submitted to the FDA on June 21, 2018 and August 3, 2018, which

stated that the remediation efforts for the Kannapolis Facility would not be completed until

December 2018.

        20.     Following receipt of the FDA’s warning letter and continued deterioration of the

Company’s financial condition, the Board lost confidence in Mr. Smith’s ability to improve the



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financial condition of the Company and manage and oversee remediation of the FDA compliance

issues. Among other things, it became clear that the compliance problems facing the Kannapolis

Facility were much more severe than Mr. Smith had disclosed to the Board. Accordingly, on or

about July 9, 2018, the Board terminated Mr. Smith as chief executive officer of the Company.

       Appointment of Interim CEO; Investigation and Closure of Daytona Facility

       21.    On July 10, 2018, I was appointed by the Board as interim chief executive officer

of PQM. Up to that point, most of the FDA compliance remediation efforts had been focused on

the Kannapolis Facility. However, on July 11, 2018, I received information from the Company’s

vice president of quality control indicating that the Daytona Facility had widespread quality

control issues that had not previously been disclosed to the Board. She expressed concerns that

the Daytona Facility had an extraordinary amount of out of specification (“OOS”) products

including batches with microbial-contamination failures. She also shared with me the historical

FDA audit documents, which indicated that these issues were historical. She conveyed to me

that these issues had been brought up repeatedly by her to Mr. Smith and the facility general

manager verbally and in writing. My experience in the industry accelerated my concern, and I

immediately requested our regulatory and compliance counsel, K&S, conduct a site visit to the

Daytona Facility to investigate the nature and extent of the product quality, regulatory and

contractual compliance issues.

       22.    K&S and their FDA consultant expert began the assessment of the Daytona

Facility on or about July 17, 2018. During this investigation, K&S identified significant and

widespread FDA compliance and cGMP issues. K&S also observed that the Daytona Facility

was experiencing compliance and quality control issues because the Daytona Facility (i) did not

have appropriate systems in place to identify these issues, (ii) was poorly configured, and (iii)



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utilized older manufacturing equipment and improper cGMP manufacturing practices.           The

facility also had environmental issues related to age and manual handling of materials.

Additionally, K&S verified that the Daytona Facility had a history of generally poor performance

in FDA inspections, as well as failure to effectively remediate such inspections. As far back as

2012, the FDA’s inspections observed similar compliance and quality control issues K&S noted

during its time at the Daytona Facility.4

         23.    The K&S team verified the compliance deficiencies at the Daytona Facility

resulted in the significant number of the Company’s products testing “out of specification”,

including the stability failures and microbial-contamination.     Among other things, it was

discovered that certain products that were shipped to customers had tested positive for

Staphylococcus aureus and Pseudomonas aeruginosa. In light of this discovery, the Company

immediately implemented quarantines and commenced product recalls with respect to the

affected products.

         24.    Given the significant contamination and compliance problems facing the Daytona

Facility, on July 30, 2018, the Company’s Board, on my recommendation, decided to

temporarily suspend operations at the Daytona Facility.      On or about August 1, 2018, the

Company began terminating some of the Daytona Facility employees and issuing notices

pursuant to the Workers Adjustment and Retraining Notification Act (the “WARN Act”).

         25.    On August 12, 2018, the Board decided to permanently close the Daytona Facility

(the “Daytona Closure”) based on the extent of the problems.        As a result of the Daytona



4
    K&S’s investigation revealed that the Company’s prior management, including the founder
    and former chief executive officer, Mr. Regan, and more recently, Mr. Smith, were aware of
    the serious issues with the Daytona Facility (in Mr. Regan’s case, even prior to the 2015
    Transaction), yet they failed to adequately or appropriately address the problems facing the
    Daytona Facility or appropriately inform the Board of these issues.

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Closure, by on or about August 16, 2018, the Company had terminated and issued notices

pursuant to the WARN Act to substantially all of its Daytona Facility employees (approximately

300 employees in total). During the period from the Daytona Closure to the Petition Date, the

Company made certain payments under the WARN Act to its terminated employees. As a result

of the bankruptcy filing, the Company ceased making WARN Act payments to its terminated

employees.

       26.     In addition to closing the Facility, on July 31, 2018, the Company alerted the

FDA to the issues with the Daytona Facility and commenced a process with the FDA to

voluntarily recall thirteen potentially defective and/or contaminated products manufactured at the

Daytona Facility. The Company alerted affected customers by telephone, as the “out of

specification” results and the shipment of the products were confirmed, on or about July 30-31,

2018. In addition, after the FDA approved the written communications to each customer on July

31, 2018, it is my understanding that the Company sent each affected customer a written

notification, in keeping with the FDA’s notification template, that (1) explained the Company

was conducting a voluntary product recall, (2) explained which product was affected, (3)

explained the reason for the recall, and (4) recommended that the product be immediately

quarantined. Later, the Company recognized that one of the products identified for recall had

been misidentified. The error resulted from the similarity of lot numbers, and the product that

actually had the stability failure was never shipped. Thus, this recall ultimately involved twelve

products.

       27.     On August 7, 2018, at the request of the FDA, the Company issued a press release

regarding one of the lots subject to recall (a CVS nasal spray product) after the press release was

approved by FDA. The FDA did not request press releases related to the other recalled products.



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On August 10, 2018, the Company met with representatives of the FDA, during which time the

FDA encouraged the Company to evaluate expanding the scope of the initial recall. On August

17, 2018, out of an abundance of caution, the Company notified the FDA that it was expanding

the scope of the recall to include additional products, and on August 28, 2018, at the request of

the FDA, the Company issued a press release that had been approved by FDA regarding the

expanded recall, which included all in-market sinus sprays as well as a topical baby teething pain

product. No finished goods were shipped from the Daytona Facility after the Daytona Closure,

and as of the Petition Date, no finished goods in the Daytona Facility are being shipped to

customers.

       North Carolina Closure

       28.     As problems with the Daytona Facility were uncovered and became public, the

costs associated with the North Carolina FDA warning letter remediation efforts continued to

increase and the financial condition of the Kannapolis Facility began to falter. In mid-August,

the Kannapolis Facility lost multiple key customers as a result of the FDA warning letter, and the

Company determined that it was not generating sufficient cash to sustain its ongoing business

operations in the normal course due to mounting expenses and loss of revenue from the Daytona

Closure.

       29.     The Company engaged in discussions with its senior secured lenders regarding

potential additional financing to fund the operations at the Kannapolis Facility while the

Company sought a potential buyer for that facility. However, given the deteriorating financial

performance, the significant costs of required FDA remediation work, and the uncertainty

regarding whether a future sale would occur or would yield proceeds sufficient to repay the

additional loans, the lenders were unwilling to advance additional funds to the Company.



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        30.    Accordingly, the Board decided that the best course for the Company to maximize

value for its stakeholders was to cease operations at the Kannapolis Facility (the “North Carolina

Closure” and together with the Daytona Closure, the “Facility Closures”) and commence these

chapter 11 cases.

        31.    On September 6, 2018, the Company issued WARN Act notices to approximately

296 employees at its Kannapolis Facility. As of the Petition Date, the Company has no ongoing

manufacturing operations at its Daytona Facility and is presently conducting wind-down

operations with approximately 13 employees in the Daytona facility and 31 employees at its

Kannapolis Facility. The Company has approximately two outside contractors as part of this

team. The Company has engaged in discussions with its largest customer for a tolling

manufacturing agreement for a limited period of time for business continuity reasons on a fee

fronted basis in the Kannapolis facility but no agreement has been reached as of the Petition

Date.

C.      Pre-Petition Capital Structure of the Debtors

        Corporate Structure

        32.    Non-debtor Product Quest Acquisition Corporation, a Delaware corporation, is

the sole member and owner of one hundred percent of the equity interests in PQM. PQM, a

Florida limited liability company, is the sole owner of one hundred percent of the equity interests

in each of Scherer Labs International, LLC, a Florida limited liability company, Product Quest

Logistics, LLC, a Florida limited liability company, JBTRS, L.L.C., a Florida limited liability

company, PQ Real Estate LLC, a Delaware limited liability company, and Ei LLC, a North

Carolina limited liability company.




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         Prepetition Secured Debt

         33.     PQ Finance Sub LLC, as borrower prior to the consummation of the Closing Date

Merger,5 PQM, as borrower after the consummation of the Closing Date Merger, certain lenders

(the “Lenders”), Madison Capital Funding LLC, as administrative agent, a joint lead arranger

and a joint book runner (the “Agent”), Carlyle GMS Finance, Inc., Carlyle GMS Finance SPV

LLC and NF Investment Corp., as joint lead arrangers and joint book runners, are parties to that

certain Credit Agreement dated September 9, 2015 (as amended, restated, supplemented or

otherwise modified from time to time, the “Credit Agreement”).             Pursuant to the Credit

Agreement, the Lenders initially provided a Revolving Loan with a commitment of $20,000,000

and a Term Loan (as each is defined in the Credit Agreement) in the amount of $120,000,000 to

PQM. The Credit Agreement was subsequently amended by that First Amendment to the Credit

Agreement, dated as of September 20, 2017, whereby the Lenders agreed to make available a

$25,000,000 super-priority revolving loan with a maturity date of March 31, 2019. The Credit

Agreement was further amended by that certain Second Amendment to Credit Agreement, dated

as of March 29, 2018, that certain Third Amendment to Credit Agreement, dated as of May 4,

2018, and that certain Fourth Amendment to Credit Agreement, dated as of May 31, 2018.

PQM’s obligations under the Credit Agreement are secured by a first priority security interest

and liens upon substantially all of the assets of the Debtors. As of the Petition Date, the Debtors’

total obligations under the Credit Agreement are approximately $153,652,695.71.




5
    The “Closing Date Merger” is the merger on the closing date of PQ Finance Sub LLC with and
    into PQM pursuant to that certain certificate of merger dated as of September 9, 2015, resulting
    in PQM as the surviving entity and the current Borrower under the Credit Agreement.

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                                 THE FIRST DAY MOTIONS6

         34.    Contemporaneously with the filing of their bankruptcy petitions and certain other

motions, the Debtors filed the motions and applications listed on Exhibit A (collectively, the

“First Day Motions”). I submit this declaration in support of the First Day Motions. I have

reviewed each of the First Day Motions (including the exhibits and schedules attached thereto)

and, to the best of my knowledge, believe that the facts set forth therein are true and correct.

Such representation is based upon information and belief, through my review of various

materials and other information, and my experience and knowledge of the Debtors’ operations

and financial condition. If called upon to testify, I could and would, based on the foregoing,

testify competently to the facts set forth in each of the First Day Motions.

         35.    As a result of my first-hand experience, and through my review of various

materials and other information, discussions with other of the Debtors’ executives, and

discussions with the Company’s professionals, I have formed opinions as to (a) the necessity of

obtaining the relief sought in the First Day Motions; (b) the importance of the relief sought in the

First Day Motions for the Debtors to continue to operate effectively; and (c) the negative impact

upon the Debtors of not obtaining the relief sought in the First Day Motions.

         36.    As described more fully below, the relief sought in the First Day Motions will

minimize the adverse effects of the chapter 11 cases on the Debtors and ensure that the Debtors’

reorganization efforts proceed as efficiently as possible and result in maximum recovery for

creditors, and I believe that the relief sought in each of the First Day Motions is necessary to

enable the Debtors to operate as debtors in possession.




6
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to
    them in the relevant motion or application.

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                                    I.       Procedural Motions

A.     Debtors’ Emergency Motion for an Order Directing Joint Administration of
       Chapter 11 Cases

       37.     The Debtors request the entry of an order directing that their bankruptcy cases be

jointly administered for procedural purposes only under the caption of the case filed by Product

Quest Manufacturing, LLC.

       38.     The Debtors believe that it would be more efficient for these cases to be jointly

administered. The Debtors anticipate significant activity during these cases and believe that

most hearings and contested matters will apply to both of the Debtors’ cases equally.

Consequently, joint administration of these cases will promote the economical and efficient

administration of the Debtors’ estates, unencumbered by the procedural problems otherwise

attendant to the administration of separate, albeit related, cases.

B.     Debtors’ Emergency Motion for an Order Establishing Notice and Administrative
       Procedures

       39.     The Debtors request the entry of an order establishing appropriate notice

procedures. Currently, literally thousands of creditors and parties-in-interest may be technically

entitled to receive notice in these cases. To require the Debtors to provide notice of all pleadings

and other papers filed in these cases to these parties in interest would be extremely burdensome

and costly to the Debtors’ estates as a result of the photocopying, postage, and other expenses

associated with such large mailings.

C.     Debtors’ Emergency Motion for an Order to Extend Time to File Schedules and
       Statements of Financial Affairs
       40.     The Debtors request the entry of an order extending the time to file their

schedules and statements of financial affairs (collectively, “Schedules”) until October 7, 2018.




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       41.     To prepare the Schedules, the Debtors must gather information from books,

records, and documents relating to a multitude of transactions. Consequently, collection of the

necessary information requires the expenditure of substantial time and effort on the part of the

Debtors’ limited and already over-burdened employees. The efforts of the Debtors’ employees

during the initial stages of these cases are critical and need to be focused on attending to the

Debtors’ wind down and maximizing the value of the Debtors’ estates. The Debtors’ employees

will begin working diligently to assemble and collate the necessary information. The Debtors

anticipate that they will need a minimum of 30 additional days than that otherwise prescribed by

the Bankruptcy Rules in order to prepare and file their Schedules in the appropriate format.

                                  II.    Operational Motions

A.     Debtors’ Emergency Motion to Authorize Payment of Pre-Petition Wages, Payroll
       Taxes, Certain Employee Benefits, and Related Expenses, and Other Compensation
       to Employees (the “Employee Obligations Motion”)

       42.     The Debtors seek authority to pay certain wages, compensation, and benefits that

become payable during the pendency of these chapter 11 cases and to continue at this time their

practices, programs, and policies with respect to their current Employees and Independent

Contractors, as such practices, programs, and policies were in effect as of the Petition Date. The

Debtors request that all applicable banks and other financial institutions be authorized and

directed, when requested by the Debtors and in the Debtors’ sole discretion, to receive, process,

honor, and pay any and all checks drawn on the Debtors’ accounts to pay the Employee and

Contractor Obligations, whether those checks were presented prior to or after the Petition Date,

and make other transfers necessary to implement these transactions provided that sufficient funds

are available in the applicable accounts to make the payments and transfers. The Debtors

similarly request that they be authorized to pay any cost or penalty incurred by a person to which

Employee and Contractor Obligations are owed in the event that a check issued by the Debtors

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for payment of the Employee and Contractor Obligations is inadvertently not honored because of

the filing of the Debtors’ bankruptcy cases. Though the Debtors estimate any such costs or

penalties to be de minimis in amount, if the Debtors are not authorized to pay such costs or

penalties, then their Employees will suffer the exact type of harm that this Motion seeks to

prevent, and the Debtors will suffer from loss of employee goodwill.

       43.     As of the Petition Date, the Debtors employed approximately 44 people (the

“Employees”). Of the Debtors’ 44 Employees, approximately 19 are employed on a full-time

salaried basis and approximately 25 are employed on a full-time hourly basis.

       44.     The Debtors also engage two independent contractors (the “Independent

Contractors”). The Independent Contractors serve, respectively, as the Debtors’ Chief Financial

Officer and the manager of the Debtors’ Florida operations. The Debtors rely heavily on the

Independent Contractors. Moreover, the Independent Contractors have worked with the Debtors

over significant periods of time and have gained institutional knowledge and training.

       45.     Prior to the petition date, the Debtors conducted operations at two facilities

located in Daytona Beach, Florida and Kannapolis, North Carolina (the “Daytona Facility” and

the “Kannapolis Facility”, respectively). On July 30, 2018, the Debtors temporarily suspended

operations at the Daytona Facility. On August 12, 2018, the Debtors permanently closed the

Daytona Facility (the “Daytona Closure”).      As a result of the Daytona Closure, the Debtors

terminated and issued notices pursuant to the Workers Adjustment and Retraining Notification

Act (the “WARN Act”) to substantially all of their Daytona Facility employees (approximately

300 employees in total). During the period from the Daytona Closure to the Petition Date, the

Debtors made certain payments under the WARN Act to the terminated employees. The Debtors




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estimate that as of the Petition Date the Debtors owe approximately $1.2 million in payments

under the WARN Act to its terminated employees at the Daytona Facility.

        46.    Also prior to the petition date, on September 6, 2018, the Debtors ceased

operations at the Kannapolis Facility (the “North Carolina Closure” and together with the

Daytona Closure, the “Facility Closures”). As a result of the North Carolina Closure, the

Debtors issued WARN Act notices to approximately 296 employees at the Kannapolis Facility.

The Debtors did not make any payments under the WARN Act to the terminated employees at

the Kannapolis Facility prior to the Petition Date. The Debtors estimate that as of the Petition

Date the Debtors owe approximately $2 million in payments under the WARN Act to the

terminated employees at the Kannapolis Facility.

        47.    Prior to the Petition Date, the payments the Debtors made to terminated

employees under the WARN Act totaled approximately $724,422. As of the Petition Date, the

Debtors are no longer making payments under the WARN Act to terminated employees at either

facility.

        48.    As of the Petition Date, the Debtors are presently conducting wind-down

operations with 31 Employees at the Kannapolis Facility and 13 Employees at the Daytona

Facility.

        49.    The Debtors seek authority to pay certain wages, compensation, and benefits

more fully described below (the “Employee and Contractor Obligations”) that become payable

during the pendency of these chapter 11 cases and to continue at this time their practices,

programs, and policies with respect to their current Employees and Independent Contractors, as

such practices, programs, and policies were in effect as of the Petition Date. By this Motion, the

Debtors also seek authority to pay certain wages, compensation, and benefits to terminated



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employees in the amounts more fully described below. The Debtors believe that there are no

terminated employees for whom these obligations would exceed $12,850. Even though the

Debtors have incurred certain Employee and Contractor Obligations prior to the Petition Date,

certain of the Employee and Contractor Obligations will become due and payable in the ordinary

course of the Debtors’ businesses on and after the Petition Date. The Debtors have provided the

historical averages of the Employer and Contractor Obligations below; however, due to the

closure of both of the Debtors’ Facilities, these Obligations will be materially less going forward

postpetition. The Employee and Contractor Obligations include, without limitation: (i) wages,

salary, and other compensation; (ii) payroll taxes; (iii) vacation and sick day programs; (iv)

qualified 401(k) plan obligations; (v) health and welfare benefits; and (vi) expense

reimbursements and other benefit programs. The Employee and Contractor Obligations are more

specifically described as follows:


             •   Wages, salaries, and other compensation. These obligations consist of pre-relief
                 wages, salaries, and commissions owed to the Employees and Independent
                 Contractors (the “Payroll Obligations”). The Debtors pay their payroll bi-weekly.
                 Prior to the Facility Closures, the average bi-weekly gross amount of the Payroll
                 Obligations for employees was approximately $1,076,042 and the average bi-
                 weekly gross amount of Payroll Obligations for Independent Contractors was
                 $38,308. This gross amount includes certain deductions described separately
                 below, such as 401(k) contributions. Historically, approximately 87% of the
                 Payroll Obligations were deposited directly into the employees’ bank accounts
                 and the remaining 13% were paid by check. As of the Petition Date, the bi-
                 weekly gross amount of the Payroll Obligations for Employees is approximately
                 $151,659.7 Because the Debtors’ payroll is paid one week in arrears, as of the
                 Petition Date, the Debtors estimate that they owe approximately $224,314 in
                 Payroll Obligations to terminated employees and approximately $75,830 in
                 Payroll Obligations to Employees and Independent Contractors

             •   Payroll taxes. These obligations consist of federal, state, and local income taxes,
                 social security, and Medicare taxes. The payroll taxes include the amounts owed
                 by Employees that the Debtors withhold from the gross amount of the Employees’

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    The Debtors anticipate that this amount will decrease by $10,000 per week within several
    weeks after the Petition Date.

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    wages or salary as well as the amounts separately owed by the Debtors. Prior to
    the Facility Closures, the Debtors’ average bi-weekly payroll tax liability for
    employees was approximately $232,578. This includes approximately $70,185
    for the employer obligation and $162,393 for the employee component. The
    employee component is included in the gross amount of the Payroll Obligations
    discussed above. Because the Debtors’ payroll is paid one week in arrears, as of
    the Petition Date, the Debtors estimate that they owe approximately $105,960 in
    payroll taxes on account of terminated employees and approximately $10,329 in
    payroll taxes on account of Employees. This amount is not included in the total
    Payroll Obligations described above.

•   Payments to the Board of Managers: The Debtors pay certain amounts to
    members of the Board of Managers monthly for their service on the Board. Prior
    to the Petition Date, the average monthly amount of the payments to the Board of
    Managers was approximately $13,000. As of the Petition date, the Debtors are
    current on payments to the Board of Managers.

•   Unemployment taxes. The Debtors also pay certain state and federal
    unemployment taxes. Prior to the Facility Closures, the Debtors’ average bi-
    weekly unemployment tax liability was $2,621.              The Debtors’ federal
    unemployment taxes are paid on a bi-weekly basis; the Debtors’ state
    unemployment taxes are paid on a monthly basis. As of the Petition Date, the
    Debtors owe approximately $1,311 in unemployment taxes. This amount is not
    included in the total Payroll Obligations described above.

•   Vacation, sick, and holiday programs. These obligations consist of time off for
    vacation, illness and company holidays. The Debtors recognize 10 holidays per
    year. Full time Employees receive paid time off based upon the years of services
    as follows: (i) after one year of employment, the Employee receives 120 hours of
    paid time off per year; (ii) after five years of employment, the Employee receives
    160 hours of paid time off per year; and (iii) after ten years of employment, the
    Employee receives 200 hours of paid time off per year.

    Allotted vacation is granted monthly and credited on the first of every month.
    Under the Debtors’ Paid Time Off Policy, Employees are permitted to carry over
    no more than 40 hours of unused paid time off remaining on that anniversary date,
    such carried over hours must be used prior to newly granted paid time off and
    should be used within the first three months of the new calendar year. Any
    unused carried over paid time off that is not used prior to April 1 of the following
    year is forfeited. However, prior to the Petition Date, the Debtors waived the
    carry-over limitations for all eligible Employees. At the time of separation,
    Employees are paid for no more than 40 hours of earned and unused paid time off
    hours. However, Employees who leave voluntarily or are terminated for cause are
    not paid for any unused paid time off. The Debtors desire to continue to honor
    their obligations for paid time off and holidays on a going forward basis. As of
    the Petition Date, the Debtors estimate that they owe approximately $35,111 in
    total unused paid time off pay that will be due to Employees at the time of

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    separation (but only if separation is part of a job elimination, with such paid time
    off hours to be limited to no more than 40 hours granted and unused). This
    amount is not included in the total Payroll Obligations described above.

•   401(k) plan obligations. The Debtors maintain a 401(k) plan, under which
    Employees may defer a portion of their salary. After completing six months of
    employment, full time Employees can contribute up to 100% of their annual pay
    (up to the annual maximum deferral amount). Under the plan, the Debtors match
    dollar to dollar on the first 3% of each participating Employee’s contributions and
    50 cents on the dollar for the next 2% of each participating Employee’s
    contributions. All collected funds are remitted bi-weekly. Because the Debtors’
    payroll is paid one week in arrears, as of the Petition Date, the Debtors estimate
    that they owe approximately $3,678 in 401k contributions on account of
    terminated employees and $1,513 in 401k contributions on account of Employees,
    which are not included in the estimated total Payroll Obligations described above.

•   Expense Reimbursements and Other Benefits. The Debtors customarily offer
    various other employee benefit policies and programs. The Debtors also
    reimburse eligible Employees who incur business expenses in the ordinary course
    of performing their duties on behalf of the Debtors. These reimbursement
    obligations include such things as travel and client entertainment expenses. The
    amount of these reimbursement obligations has historically been approximately
    $42,749 per month. As of the Petition Date, the Debtors estimate that they owe
    approximately $40,000 in other expense reimbursements.

•   Health and welfare benefits. The Debtors provide several health and welfare
    benefit plans for the Employees, including insurance plans relating to medical,
    health, prescription, dental, disability, and life insurance.

         o Health Care Plan. The Debtors maintain and provide two health care
           plans for their Employees. Full time Employees (working at least 30
           hours a week) may enroll in the plans after thirty days of employment.
           The plan premiums are paid by the Debtors and the Employees and are
           managed by Aetna. The first plan’s annual deductibles for in-network
           providers are $1,000 for individuals and $4,500 for families, and $5,000
           for individuals and $15,000 for families for out-of-network providers.
           The second plan’s annual deductibles for in-network providers are
           $5,000 for individuals and $15,000 for families, and $10,000 for
           individuals and $30,000 for families for out-of-network providers
           Prescription drugs are covered by the plans. Prior to the Facility
           Closures, the Debtors’ average monthly claims, premiums, and
           administration fees were approximately $208,581 in connection with the
           health plans (this includes reinsurance, COBRA fees, network fees, etc.).
           This amount is not included in the estimated Payroll Obligations
           described above. As of the Petition Date, the Debtors estimate that they
           owe approximately $18,264 on account of terminated employees’ health
           programs and approximately $2,149 on account of the Employees’ health

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      programs. By way of background, the total net program expense to the
      Debtors was $1,578,678 in 2017.

        ▪   The costs include health insurance for current and former
            employees. There are 5 former employees covered under COBRA.

  o Dental Plan. The Debtors maintain and provide one dental coverage
    plan for their Employees. Full time Employees (working at least 30
    hours a week) may enroll in the plan after thirty days of continuous
    service. The plan premiums are paid by the Debtors and the Employees
    and are managed by Aetna. The plan’s annual deductibles for in and out-
    of-network providers are $50 for individuals and $150 for families.
    Diagnostic and preventative care are covered 100% by the plans. The
    Debtors’ average monthly claims, premiums and administration fees
    have historically been approximately $13,062 in connection with the
    dental plan (this includes reinsurance, network fees, etc.). As of the
    Petition Date, the Debtors estimate that they owe approximately $1,663
    on account of the dental plan for terminated employees and
    approximately $192 on account of the dental plan for Employees. This
    amount is not included in the estimated Payroll Obligations described
    above. By way of background, the total net program expense to the
    Debtors was $73,314 in 2017.

  o Basic Life Insurance. The Debtors provide life insurance at no cost to
    Employees to their full time (working at least 30 hours a week)
    Employees after 30 days of employment. Prior to the Facility Closures,
    the Debtors’ annual premium was approximately $30,386. As of the
    Petition Date, the Debtors hold approximately $656 in premiums
    collected from terminated employees but not yet remitted to the carrier
    and approximately $81 premiums collected from Employees but not yet
    remitted to the carrier. This amount is not included in the estimated
    Payroll Obligations described above.

  o    Accidental Death and Dismemberment Insurance. The Debtors provide
      Accidental Death and Dismemberment Insurance to their full time
      (working at least 30 hours a week) Employees after 30 days of
      employment. Prior to the Facility Closures, the annual cost to the
      Debtors was approximately $2,979. As of the Petition Date, the Debtors
      hold approximately $38 in premiums collected from terminated
      employees but not yet remitted to the carrier and approximately $5 in
      premiums collected from Employees but not yet remitted to the carrier.
      This amount is not included in the estimated Payroll Obligations
      described above.

  o Short Term Disability. After 30 days employment, the Debtors provide
    short-term disability coverage for full time Employees who are disabled.
    Coverage covers 60% of the Employee’s weekly pre-disability earnings,

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     up to a $200 weekly maximum. This runs from 14 days after the date of
     disability and continues through the earlier of recovery or 180 days.
     Prior to the Facility Closures, the annual cost to the Debtors was
     approximately $117,940 annually. As of the Petition Date, the Debtors
     owe approximately $1,636 on account of short-term disability coverage.
     This amount is not included in the estimated Payroll Obligations
     described above.

  o Long Term Disability. After 30 days employment, the Debtors provide
    short-term disability coverage for full time Employees who are disabled.
    Coverage covers 60% of the Employee’s monthly pre-disability earnings,
    up to a $1,500 monthly maximum. Prior to the Facility Closures, the
    annual cost to the Debtors was approximately $27,608 annually. As of
    the Petition Date, the Debtors owe approximately $568 on account of
    short-term disability coverage. This amount is not included in the
    estimated Payroll Obligations described above.

  The following are “pass-through” programs for which the Debtors make
  no contributions or payments. The Debtors withhold the necessary
  amounts from the Employee’s paycheck and remit the amounts to the
  benefit provider. Accordingly, the Debtors ask for authority to remit
  amounts collected from the Employees before the Petition Date but not
  yet remitted to the carrier.

  o Vision Plan. The Debtors permit Employees to enroll in a vision plan
    managed by Aetna. The Debtors collect funds from the enrolled
    Employees and remit the funds to the insurance company, but do not
    provide any reimbursement for this program. There is no material cost to
    the Debtors for this program. As of the Petition Date, the Debtors hold
    approximately $89 in premiums collected from Employees but not yet
    remitted to the carrier. This amount is not included in the estimated
    Payroll Obligations described above.

  o Supplemental Life and AD&D Insurance. The Debtors provide
    Employees with the option of increasing their life and accidental death
    and dismemberment coverage by purchasing supplemental insurance.
    Employees may also purchase coverage for their spouses and unmarried,
    dependent children. The Debtors collect funds from Employees and
    remit the funds to the insurance company, but do not provide any
    reimbursement for this program. There is no material cost to the Debtors
    for this program.      As of the Petition Date, the Debtors hold
    approximately $85 in premiums collected from Employees but not yet
    remitted to the carrier. This amount is not included in the estimated
    Payroll Obligations described above.

  o Supplemental Short-Term and Long-Term Disability. The Debtors
    provide Employees the option to purchase short- and long-term

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                       supplemental disability coverage of up to a max of $1,000 per week at a
                       rate of $0.58 per $10 of covered monthly benefit for short-term disability
                       and up to $10,000 at a rate of $0.60 per $100 of covered monthly payroll
                       for long-term disability. The Debtors collect premiums from Employees
                       and remit same to the insurance company, but do not subsidize this
                       program. There is no material cost to the Debtors for this program. As
                       of the Petition Date, the Debtors hold approximately $81 in premiums
                       collected from Employees but not yet remitted to the carrier. This
                       amount is not included in the estimated Payroll Obligations described
                       above.

                   o Critical Illness, Accident, Hospital Indemnity. The Debtors provide
                     Employees the option to purchase critical illness insurance, accident
                     insurance and hospital indemnity. The Debtors collect premiums from
                     Employees and remit same to the insurance company, but do not
                     subsidize this program. There is no material cost to the Debtors for this
                     program. As of the Petition Date, the Debtors hold approximately $93 in
                     premiums collected from Employees but not yet remitted to the carrier.
                     This amount is not included in the estimated Payroll Obligations
                     described above.

                   o Flexible Spending. The Debtors provide Employees the option to
                     participate in health care and dependent care savings accounts (the
                     “Savings Accounts”). If an Employee elects to participate, a designated
                     amount of the funds the Employee has preselected will be deducted from
                     the Employee’s pay on a pre-tax basis and credited to one or both of the
                     Savings Accounts. The Employees may then use the funds to pay for
                     eligible health care or dependent care expenses. The Debtors collect the
                     funds for the Savings Accounts from Employees and remit the same to
                     the carrier for the Savings Accounts, but do not subsidize this program.
                     There is no material cost to the Debtors for this program. As of the
                     Petition Date, the Debtors hold approximately $51 in Savings Account
                     funds collected from Employees but not yet remitted to the carrier. This
                     amount is not included in the estimated Payroll Obligations described
                     above.


B.     Debtors’ Emergency Motion for Authority to Continue Pre-Existing Insurance
       Programs, to Maintain Insurance Premium Financing Programs, and to Pay Pre-
       Petition Premiums and Related Obligations (the “Insurance Motion”)

       50.    The Debtors seek an order (a) authorizing them to maintain their insurance

programs, insurance policies, insurance premium financing programs, workers’ compensation

program, and any related agreements, as such practices, programs, and policies were in effect as


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of the Petition Date and to pay, in their sole discretion, pre-petition amounts, if any, accrued in

connection therewith, and (b) authorizing the Debtors’ banks and other financial institutions to

receive, process, and pay any and all checks and other transfers related to such claims.

        51.     In connection with the operation of their businesses, the Debtors maintain various

insurance policies and programs through several different insurance carriers (the “Insurance

Carriers”). All of the Debtors’ insurance policies are listed on Exhibit A to the Insurance

Motion, together with a list of the Insurance Carriers, policy terms, and the premiums due

thereunder.

        52.     The Debtors’ insurance policies and programs include liability and property

insurance policies, which provide the Debtors with insurance coverage relating to, among other

things, general liability, general property, automobile liability, workers’ compensation, crime,

fiduciary liability and directors’ and officers’ liability.

        53.     The Debtors are required to pay premiums based upon a fixed rate established by

each Insurance Carrier. The premiums for most of these policies are determined annually and

are either directly billed to the Debtors or to the Debtors’ insurance broker.

        54.     Prior to the Petition Date, the Debtors paid a premium for tail coverage on their

directors’ and officers’ liability policy. As of the Petition Date, the tail policy is not yet in place.

        55.     As of the Petition Date, the Debtors believe that they are either current on their

insurance premiums with respect to the pre-petition period or they have paid all of the 2018

annual premiums payable under certain of their insurance policies. However, to the extent there

is an outstanding insurance policy premium payable by the Debtors that relate (in whole or in

part) to the pre-petition period, the Debtors seek authority to pay these pre-petition premiums in




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the ordinary course as such payments are necessary to keep its insurance policies and programs

in force.

        56.   The Debtors spend approximately $925,000 annually on insurance premiums.

The Debtors are currently parties to two insurance premium financing agreements (the “Premium

Financing Programs”) whereby certain of the Debtors’ insurance policies and programs are

financed by AFCO Credit Corporation (“AFCO”) and IPFS Corporation (“IPFS”). Exhibit A

indicates which of the insurance policies and programs are included in the premium financing

agreements.

        57.   Pursuant to the terms of the premium financing agreement with AFCO, the

Debtors make a down payment contemporaneously with the execution of the Premium Financing

Agreement and then makes eleven monthly installments to AFCO toward the balance of the

financing over the term of the premium financing agreement. The Debtors paid the down

payment and prior to the Petition Date have paid all but three of the installment payments under

the premium financing agreement with AFCO.

        58.   Pursuant to the terms of the premium financing agreement with IPFS, the Debtors

make a down payment contemporaneously with the execution of the Premium Financing

Agreement and then make eleven monthly installments to IPFS toward the balance of the

financing over the term of the premium financing agreement.

C.      Debtors’ Emergency Motion for Authority to (A) Maintain Existing Bank Accounts
        and Continue Use of Existing Cash Management System, (B) Continue Use of
        Existing Business Forms, and (C) Continue Existing Investment Practices (the
        “Cash Management Motion”)

        59.   The Debtors respectfully request an order: (a) authorizing them to continue to

maintain their existing bank accounts and to continue use of their existing cash management

system; and (b) authorizing them to continue to utilize their existing business forms, including


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checks. Finally, the Debtors seek a waiver of the deposit guidelines set forth in section 345(b) to

the extent necessary to allow the Debtors to maintain their bank accounts.

       60.     As described in greater detail above, the Debtors’ operations are divided into two

geographic and corporate segments: (i) the manufacturing facility and related assets in Florida

(the “Florida Segment”) and (ii) the manufacturing facility and related assets in North Carolina

(the “North Carolina Segment”). The Florida Segment and the North Carolina Segment provide

manufacturing services to a handful of “cross-over” clients. The Segments also share coverage

under a number of Debtor insurance policies and prior to the Petition Date, certain Debtor

employees worked for both the Florida and North Carolina Segments.            The Debtors use a

consolidated cash management system, which is described on Exhibit A-1 to the Cash

Management Motion. Importantly, each and every deposit, payment and other transfer made

pursuant to the Debtors’ cash management practices is documented and accounted for on a per

Segment basis.    The existing cash management practices are integral to the stability and

efficiency of the Debtors’ operations, as they ensure Debtor receivables are easily collected and

the Debtors’ operating expenses are timely satisfied in a way that minimizes the Debtors’

administrative costs. The loss or even interruption of the cash management practices would be

detrimental to the Debtors.

       61.     As described more fully below, prior to the commencement of these chapter 11

cases, the Debtors maintained seven bank accounts at one bank, a schedule of which is attached

as Exhibit A-2 to the Cash Management Motion. The Debtors’ primary cash management bank

is Bank of America, N.A. (“BoA”). The Debtors maintain all of their accounts with BoA

through which substantially all of their collections are deposited and disbursements are made.

The Debtors’ cash management system operates as follows:



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                   (a) The Debtors collect receipts primarily through (1) wires and ACH’s
                       deposited into a BoA operating master account (the “Operating Master
                       Account”); (2) checks received at their facility in Florida; and (3) checks
                       received at their facility in North Carolina. The Debtors’ incoming
                       receipts are all deposited into the Operating Master Account. The
                       Operating Master Account is subject to a deposit account control
                       agreement, dated as of November 6, 2015, among Product Quest
                       Manufacturing, LLC, and Madison Capital Funding LLC, as
                       administrative agent on behalf of itself and certain lenders and Bank of
                       America, N.A. (the “Operating Account Control Agreement”). The
                       Operating Account Control Agreement permits the Company to freely
                       access the funds in this account until the Agent notifies BoA otherwise.
                   (b) The Operating Master Account funds three disbursement accounts: a
                       payroll account shared by the Debtors (the “Payroll Account”) and two
                       general disbursements accounts – one for PQM (the “PQM Disbursement
                       Account”) and one for EI (the “EI Disbursement Account”, together with
                       the PQM Disbursement Account, the “Disbursement Accounts”). As
                       needed, Bank of America transfers funds from the Operating Master
                       Account to the Payroll Account and the Disbursements Accounts to cover
                       expected presentments. At all times, the Payroll Account and the
                       Disbursement Account maintain a zero balance.
                   (c) In addition to the three accounts described above, the Debtors maintain
                       three inactive accounts with BoA. Two of the accounts have not been
                       used by the Debtors in the past twelve months and one account, the
                       Debtors’ petty cash account (Acct. No. 487001618920), has not been used
                       in the past two months and holds a small balance.

       62.     Authorizing the Debtors to continue to use their existing bank accounts is

essential to a smooth and orderly transition of the Debtors into chapter 11. Moreover, having to

open new accounts as of the Petition Date would unnecessarily distract the Debtors’ key

accounting and financial personnel.

       63.     By permitting existing accounts to remain open, preserving continuity, and

avoiding the operational and administrative paralysis that closing the accounts and opening new

ones would necessarily entail, all parties-in-interest will be best served, and the Debtors’ estates

will benefit considerably.




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       64.     Finally, by virtue of the nature and scope of the Debtors’ businesses, the number

of accounts, and the number of employees, suppliers of goods and services, and others with

whom the Debtors transact business, it is imperative that the Debtors be permitted to continue to

use their existing business forms, including checks. A substantial amount of time and expense

would be required to print new business forms and stationery and would also likely result in a

substantial risk of disruption to the Debtors.

       65.     Because of the severe disruption to the Debtors’ cash management system that

would result if the Debtors were forced to open new accounts, the Debtors believe it is extremely

important that this Court grant their request for maintaining their existing bank accounts and

business forms. The Debtors also ask for authorization to open, when necessary, additional

FDIC-insured bank accounts that will be subject to the requirements of this Order.

       66.     The Debtors also seek a waiver of the deposit guidelines set forth in section

345(b) to the extent necessary to allow the Debtors to maintain their bank accounts.

       67.     Debtors submit that their practices generally conform with the intent of section

345(b) to protect and maximize the value of their estates. The Debtors believe that their existing

investment procedures are designed to protect the principal invested while maximizing liquidity

and, therefore, believe that sufficient cause exists to waive the investment requirements of

section 345(b) to allow the Debtors to continue their existing investment procedures.

       68.     Moreover, the Debtors believe that the bank the Debtors use is well-established

and invests the Debtors’ funds in accordance with their standard investment guidelines.

Requiring the Debtors to open multiple accounts at different banks so that the deposits in each

such bank would be insured by FDIC would be unnecessarily burdensome and would lead to the

same delays and disruption to the Debtors’ businesses that this Motion seeks to avoid.



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       69.     The Debtors submit that given the totality of the circumstances, their request is

reasonable and cause exists for the Court to waive the requirements of section 345(b).


D.     Debtors’ Emergency Motion for an Order Authorizing the Debtors to Pay Pre-
       Petition Trust Fund and Other Taxes and Related Obligations (the “Tax Motion”)

       70.     The Debtors seek authority to pay, in their sole discretion, undisputed pre-petition

sales and other similar “trust fund” taxes and obligations (“Sales Taxes”) owed to the state taxing

authorities listed on the Exhibit A attached to the Tax Motion (collectively, the “Taxing

Authorities”) in the ordinary course of business.

       71.     In connection with the normal operation of their businesses, the Debtors purchase

supplies, not for manufacturing use, from third party vendors for which the vendors occasionally

do not collect the proper sales tax percentage. As a result, the Debtors are liable to the Taxing

Authorities for all uncollected Sales Taxes. The Debtors pay approximately $4,800 per month to

the Taxing Authorities on account of these Sales Taxes. The Debtors estimate that, as of the

Petition Date, they hold approximately $4,800 in unremitted Sales Taxes.

E.     Debtors’ Emergency Motion For Interim and Final Orders (A) Prohibiting Utilities
       from Altering, Refusing, or Discontinuing Service on Account of Prepetition
       Invoices, (B) Deeming Utilities Adequately Assured of Future Performance, and (C)
       Establishing Procedures for Determining Adequate Assurance of Payment (the
       “Utilities Motion”)

       72.     The Debtors respectfully request the entry of an interim and final order (the

“Interim Order” and the “Final Order”, respectively), pursuant to section 366: (a) prohibiting the

Utility Companies from altering, refusing, or discontinuing service on account of prepetition

invoices, (b) deeming utilities adequately assured of future performance, and (c) establishing the

Determination Procedures for determining adequate assurance of payment.

       73.     Also, the Debtors request that the Court schedule a final hearing on this Motion

(the “Final Hearing”) at its convenience on a date in advance of the expiration of thirty (30) days

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following the Petition Date in order to, as discussed below: (a) address any outstanding

objections to the Motion and (b) resolve any disputes regarding adequate assurance of payment

prior to the expiration of the thirty (30) day period set forth in section 366(c)(2) of the

Bankruptcy Code.

         74.     Utility services are essential to the Debtors’ ability to sustain their operations

while these chapter 11 cases are pending. In the normal conduct of their businesses, the Debtors

have relationships with approximately fifteen utility companies (collectively, the “Utility

Companies”) for the provision of telephone, internet, electric, gas, water, sewer and waste

management (the “Utility Services”). A list identifying the Utility Companies and their notice

addresses is attached as Exhibit A to the Utilities Motion (the “Utilities Service List”).8

         75.     As described in greater detail above, as a result of the investigation by the United

States Food and Drug Administration (the “FDA”) of the Debtors’ Florida manufacturing

facility, on or about July 31, 2018 (the “Florida Shutdown Date”), the Debtors ceased operations

at the Florida facility for the foreseeable future. Subsequently, on or about September 6, 2018

(the “North Carolina Shutdown Date”), the Debtors’ ceased operations at the North Carolina

manufacturing facility for the foreseeable future. Following the Florida Shutdown Date, the

Debtors have used significantly less utility services in their Florida facility, and anticipate that,




8
    The listing of any entity on Exhibit A is not an admission that such entity is a utility within the
    meaning of section 366. The Debtors reserve all rights to further address the characterization
    of any particular entities listed on Exhibit A as a utility company subject to section 366(a).
    The Debtors further reserve the right to terminate the services of any Utility Company at any
    time and to seek an immediate refund of any utility deposit without effect to any right of setoff
    or claim asserted by such Utility Company against the Debtors. This Motion does not seek
    assumption or rejection of any executory contract under section 365 of the Bankruptcy Code,
    and the Debtors reserve the right to claim that any contract with the Utility Companies is or is
    not an executory contract, as the facts may dictate. The relief requested herein is with respect
    to all Utility Companies and is not limited only to those listed on Exhibit A.

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following the North Carolina Shutdown Date, the Debtors will use significantly less utility

services in their North Carolina facility going forward.

         76.    At all relevant times, the Debtors have attempted to remain current with regard to

their utility bills. Furthermore, to the best of the Debtors’ knowledge, the Debtors are current on

all amounts owing to the Utility Companies, other than payment interruptions that may be caused

by the commencement of these chapter 11 cases.

         77.    Continued and uninterrupted Utility Service is vital to the Debtors’ ability to

sustain their operations during these chapter 11 cases. Because of the nature of the Debtors’

operations, termination or interruption of the Debtors’ utility service would dramatically impair

the Debtors’ ability to conduct business and cause considerable inconvenience to the Debtors’

customers and employees.

F.       Debtors’ Emergency Motion for Entry of an Interim and Final Order (A)
         Authorizing the Debtors to use Cash Collateral Pursuant to Section 363 of the
         Bankruptcy Code, (B) Granting Adequate Protection to Pursuant to Sections 361
         and 363 of the Bankruptcy Code, (C) Modifying the Automatic Stay, and (D)
         Scheduling a Final Hearing Pursuant to Rule 4001(c) of the Federal Rules of
         Bankruptcy Procedures (the “Cash Collateral Motion”)

         78.    The Debtors, after conducting an interim hearing (the “Interim Hearing”) on the

Motion, seek the entry pursuant to sections 105, 361, and 363 of the Bankruptcy Code and Rule

4001(b), of an order (a) authorizing the Debtors to use cash collateral, (b) granting adequate

protection, and (c) scheduling a final hearing (the “Final Hearing”).

         79.    On September 9, 2015, PQ Finance Sub LLC, as borrower prior to the

consummation of the Closing Date Merger9 (“Initial Borrower”), Product Quest Manufacturing,

LLC, as borrower after the consummation of the Closing Date Merger (“Current Borrower”),

9
    The “Closing Date Merger” is the merger on the closing date of PQ Finance Sub LLC with and
    into Product Quest Manufacturing, LLC pursuant to that certain certificate of merger dated as
    of September 9, 2015, resulting in Product Quest Manufacturing, LLC as the surviving entity
    and the Current Borrower under the Credit Agreement.

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certain lenders (the “Lenders”), Madison Capital Funding LLC, as administrative agent, a joint

lead arranger and a joint book runner (the “Agent”), Carlyle GMS Finance, Inc., Carlyle GMS

Finance SPV LLC and NF Investment Corp., as joint lead arrangers and joint book runners

entered into that certain Credit Agreement (as amended, restated, supplemented or otherwise

modified from time to time, the “Credit Agreement”), pursuant to which, the Lenders agreed to

make (a) available a $20,000,000 revolving credit facility (the “Revolving Loan”), and (b) a

$120,000,000 term loan (the “Term Loan”). Both the Revolving Loan and the Term Loan

mature on September 9, 2020. The Credit Agreement was subsequently amended by that First

Amendment to the Credit Agreement, dated as of September 20, 2017, whereby the Lenders

agreed to make available a $25,000,000 super-priority revolving loan with a maturity date of

March 31, 2019 (the “Super-Priority Revolving Loan”, together with the Revolving Loan and the

Term Loan, the “Loans”). The Credit Agreement was further amended by that certain Second

Amendment to Credit Agreement, dated as of March 29, 2018, that certain Third Amendment to

Credit Agreement, dated as of May 4, 2018 and that certain Fourth Amendment to Credit

Agreement, dated as of May 31, 2018.

       80.     In the aggregate, the Loan Documents provide that the Prepetition Debt is secured

by security interests and liens upon substantially all of the assets of the Debtors (the “Prepetition

Liens”). The assets of the Debtors that are subject to the liens, security interests, and mortgages

of the Agent and the Lenders are hereinafter collectively referred to as the “Prepetition

Collateral.”

       81.     Substantially all of the cash held by or otherwise generated by the Debtors’

management of their properties as of the Petition Date constitutes “cash collateral,” as such term




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is defined in section 363(a) of the Bankruptcy Code, and is subject to the interest of the Lenders

(the “Cash Collateral”).

       82.     Without the use of the Cash Collateral, the Debtors do not have sufficient access

to working capital to manage their properties in the ordinary course for a period of time

sufficient to facilitate the wind down of their estates. The Debtors’ ability to administer these

bankruptcy cases is dependent on their ability to use the Cash Collateral.

       83.     The inability of the Debtors to access the Cash Collateral and to make payments

on certain obligations on a timely basis may result in, inter alia, the Debtors’ inability to

continue to maximize the value of their assets. Without access to the Cash Collateral, the

impact on the Debtors’ estates would be catastrophic and would result in material harm to all of

the Debtors’ creditors and other constituents.

                                  [signature on following page]




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                                         EXHIBIT A

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